                            UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                               CHATTANOOGA DIVISION


UNITED STATES OF AMERICA                      )          REEVES/STEGER
                                              )
       v.                                     )          CASE NO. 1:15-CR-60
                                              )
RICKY BAKER                                   )



                              REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on September 15,

2015. At the hearing, defendant entered a plea of guilty to Count One of the Indictment. There is

no plea agreement in this case. On the basis of the record made at the hearing, I find that the

defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is made

voluntarily and free from any force, threats, or promises, that the defendant understands the nature

of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

       I therefore recommend that defendant's plea of guilty to Count One of the Indictment be

accepted, and that the Court adjudicate defendant guilty of the charges set forth in Count One of

the Indictment. I further recommend that defendant remain in custody until sentencing in this

matter. Acceptance of the plea, adjudication of guilt, and imposition of sentence are specifically

reserved for the district judge.

       The defendant=s sentencing date is scheduled for Monday, February 29, 2016, at 11:00

am.




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                                               s/Christopher H. Steger
                                               UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
the plea of guilty in this matter. See 28 U.S.C. '636(b).




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